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                                                      County Attorney

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                                                             July 3, 2024


       VIA CM/ECF ELECTRONIC FILING SYSTEM

       Christopher M. Wolpert
       Clerk of Court
       United States Court of Appeals for the Tenth Circuit
       Byron White United States Courthouse
       1823 Stout Street
       Denver, CO 80257

               RE:         23-1135, Darlene Griffith v. El Paso County, et al.
                           Dist/Ag docket: 1:21-CV-00387-CMA-NRN
                           Appellee’s response letter pursuant to FRAP 28(j)

       Dear Mr. Wolpert,

               Pursuant to FRAP 28(j), Appellees submit this response to Appellant’s supplemental
       authority submitted on June 20, 2024.

               Fowler v. Stitt, No. 23-5080, 2024 WL 3035712, at * 1 (10th Cir. June 1, 2024), arose from
       an Executive Order issued by the Governor of Oklahoma directing the Oklahoma State Department
       of Health to stop amending sex designations on birth certificates. This Court applied the Supreme
       Court’s reasoning in Bostock v. Clayton County, 590 U.S. 644 (2020)—that discrimination based
       on transgender status is discrimination based on sex for purposes of Title VII—to Fowler’s equal
       protection claim. Fowler, 2024 WL 3035712, at * 17.


                                             A SSI ST A NT C OU NT Y AT T ORN E Y S
  NATHAN J. WHITNEY             STEVEN A. KLAFFKY                LORI L. SEAGO                BRYAN E. SCHMID           TERRY A. SAMPLE
CHRISTOPHER M. STRIDER           DOREY L. SPOTTS                 ERIKA KEECH                 STEVEN W. MARTYN            MERI GERINGER
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Christopher M. Wolpert
Clerk of Court
July 3, 2024
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        Fowler confirms that the individual Appellees are entitled to qualified immunity. Before
Fowler, neither the Supreme Court nor this Court had imported Bostock’s Title VII reasoning to
an equal protection claim brought under the Fourteenth Amendment. And, the facts of Fowler are
not remotely similar to this case. Thus, the individual Appellees are entitled to qualified immunity
because, in 2021, they had not been given fair notice that intermediate scrutiny would apply to
their classification decisions made with respect Appellant.

        For the same reason, Fowler should confirm that Appellant’s thinly-pled Monell claim
fails. See Contreras ex rel. A.L. v. Dona Ana Cnty. Comm’rs, 964 F.3d 1114, 1123-24 (10th Cir.
2020) (Carson, J. concurring) (writing concerning a claim of municipal liability stemming from an
employee’s act rather than a municipal act: “the district court determined that Plaintiff’s claim
against the Board failed as a matter of law because she did not satisfy the third element for
municipal liability—deliberate indifference. The district court determined that the Board could
not be deliberately indifferent to a constitutional right unless it is clearly established. And because
the district court found the right was not clearly established, it ruled the Board could not have been
deliberately indifferent to A.L.’s rights. I agree.”) (emphasis in original) (citation omitted); Moya
v. City of Clovis, No. 18-494-GBW-KRS, 2019 WL 6255217, at *10 (D.N.M. Nov. 22, 2019),
aff’d on other grounds 829 Fed. Appx. 346 (10th Cir. 2020) (unpublished); see also Response
Brief, pp. 40-45.

Sincerely,

OFFICE OF THE COUNTY ATTORNEY
OF EL PASO COUNTY, COLORADO



Nathan J. Whitney
First Assistant County Attorney
Attorney for Appellees
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. 28(j) the body of the foregoing letter does not exceed

350 words.


                         CERTIFICATE OF SERVICE

      I hereby certify that on July 3, 2024, I electronically filed the foregoing

document through the Court’s electronic filing system, and that it has been served

on all counsel of record through the court’s electronic filing system.


Dated:       July 3, 2024

                                       /s/ Meleah Williams
                                       Paralegal
                                       El Paso County Attorney’s Office
